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New York, NY 10007-1312

 

 

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October 30, 2019

By ECF eens

USDC SDNY

The Honorable Loretta A. Preska DOCUMENT

United States District Judge BLECTROMICALLY FILED f

Southern District of New York DOC #:

500 Pearl Street, Room 2220 DATE FILED: [O- 20 -l4_|

Re: Giuffre vy. Maxwell, 15 Civ. 07433 (LAP)

Dear Judge Preska:

We write on behalf of a non-party, John Doe, regarding the letter filed by Alan
Dershowitz on October 24, 2019, in the case of Giuffre v. Dershowitz, 19 Civ. 3377 (LAP). See
19 Civ. 3377 (LAP) Docket Entry (“DE”) 71. By that letter, Dershowitz — the defendant in that
case, and an intervenor seeking categorical unsealing of all sealed filings here ~ requests that this
Court order the plaintiff there (and here) Virginia Giuffre to “immediately produce” two
documents that he styles as “pre-Answer discovery.” /d. On the following day, October 25,
2019, this Court directed counsel in that case to confer regarding Dershowitz’s request and, if
Giuffre disagrees with Dershowitz’s request, to so inform the Court by November 4, 2019. See
DE 72, The Court should not permit Dershowitz to engage in an end run around the unsealing
process Your Honor is conducting in this matter.

 

Dershowitz seeks the “immediate” production of two non-public documents, including
Giuffre’s partially sealed deposition taken in this case. DE 71. This request effectively
proposes to by-pass the sealing-review process this Court has initiated here. And Dershowitz
does not even attempt to address how his request can be aligned with the sealing-review process
in this case. Nor does he articulate why pre-answer access to sealed documents — which he
presumably intends to unilaterally unseal and use in potential counterclaims and his answer —
would be necessary to satisfy notice-pleading requirements.

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LORETTA A. PRESKA
UNITED STATES DISTRICT JUBGE

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October 30, 2019
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We respectfully submit that the documents to which Dershowitz requests immediate
access be subject to the same unsealing procedure that the Court envisions for the rest of the
documents subject to the Court of Appeals’ remand. See Brown v. Maxwell, 929 F.3d 41 (2d Cir.
2019).

Respectfully Submitted,

 

cc (by ECF): Counsel of record (15 Civ. 7433 (LAP))

ce (by email): Counsel of record (19 Civ. 3377 (LAP))

 
